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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL PROTECTION
BUREAU

              Plaintiff,
                                              C.A. No. 17-cv-01323 (MN)
              v.

THE NATIONAL COLLEGIATE MASTER
STUDENT LOAN TRUST, et al.

              Defendants.

               INTERVENOR AMBAC ASSURANCE CORPORATION’S
                    LETTER MOTION FOR CLAIRIFICATION

                                         HEYMAN ENERIO
                                         GATTUSO & HIRZEL LLP

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Dated: February 27, 2020
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Dear Judge Noreika:

       We write on behalf of Ambac and the Noteholder Group (“Movants”) to request that the
Court clarify that its December 18, 2019 Order (D.I. 197) (“Order”) applies equally to the use of
Trust-privileged materials (the “Materials”) in briefing the Threshold Issues to the Court. The
Materials—which are highly relevant to the Threshold Issues—consist of documents produced to
the Movants and designated as Trust-privileged by certain parties and nonparties pursuant to the
Court’s May 17, 2019 order (D.I. 181).

        Ambac previously moved for an order permitting the use of the Materials in depositions
and in briefing to this Court on the Threshold Issues. (D.I. 195). The Court ordered that “Ambac
may use the Materials to the extent necessary in depositions.” (D.I. 197). Movants did so, and all
parties, including the CFPB, received copies of those Materials and had the opportunity to question
deponents regarding them. Movants request clarification of the Order because the Court did not
address the use of Trust-privileged documents in briefing.

        In briefing the Threshold Issues, Movants intend to rely on (i) certain Materials used at
depositions, and (ii) a small number of Materials not used at depositions. The Movants’ request as
to category (i)—Materials used in depositions—is unopposed, as the CFPB does not object to the
use of those Materials in briefing.

        The CFPB does, however, object to the use of the Materials in category (ii), purportedly
on the ground that it has not had the opportunity to review them. This objection is meritless,
because the CFPB alone is responsible for not having access to these Materials. During a
November 20, 2019 meet-and-confer call, Ambac told the CFPB it would consider providing all
Materials produced in this litigation, subject to entry of an appropriate order. The CFPB expressed
no interest in reviewing the Materials then, and on a meet-and-confer call earlier this week, the
CFPB reiterated that it still takes no position as to whether it would actually like to review these
Materials. The CFPB cannot have it both ways: having repeatedly refused the opportunities to
review the Materials, the CFPB cannot now complain of unfair surprise—and certainly not to
prevent the Intervenors from submitting highly relevant evidence to the Court. 1 Nor will the CFPB
be prejudiced by the introduction of this evidence, since the CFPB will have a full opportunity to
review the Materials once they are filed, and can fully address them in its 40-page reply brief.

       Accordingly, Movants request that the Court clarify that the Order applies equally to
Movants’ use of the Materials (and related testimony) in briefing, regardless of whether such
Materials were used at a deposition.




1
  In meet and confer discussions, the Bureau invoked Federal Rule of Civil Procedure 37(c). But
this Rule is inapposite because it concerns sanctions for a party’s own failure to disclose
information—not where, as here, Movants received information from third parties and offered to
consider sharing it with the CFPB, which declined the offer.
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                                        Respectfully submitted,

                                        /s/ Melissa N. Donimirski

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